Se 8:16-cv-01283-VMC-TGW Document 2 Filed 05/23/16 Page 1 of 4 PagelD 9

IN THE CIRCUIT COURT OF THE 137 JUDICIAL CIRCUIT IN AND FOR
HILLSBOROUGH COUNTY, FLORIDA
CIVIL DIVISION

CASE NO.: 16-CA-00597
JORGE ABREU SOSA,

Plaintiff,

-VS-

WRIGHT NATIONAL FLOOD INSURANCE
COMPANY,

Defendant.
/

AMENDED COMPLAINT

COMES NOW Plaintiff, JORGE ABREU SOSA, by and through its undersigned
counsel, and sues Defendant, WRIGHT NATIONAL FLOOD INSURANCE COMPANY, and
would allege as follows:

GENERAL ALLEGATIONS

\, This is an action for damages greater than the sum of FIFTEEN THOUSAND
DOLLARS ($15,000.00), exclusive of interest, costs and attorney's fees, and otherwise within
the jurisdictional limits of this Court.

2. At all times material hereto, Defendant WRIGHT NATIONAL FLOOD
INSURANCE COMPANY, is a Florida corporation authorized and doing business in
Hillsborough County, Florida.

3, At all times material hereto, Plaintiff, JORGE ABREU SOSA, owns the property
insured by Defendant located at 6001 Wildshire Drive, Tampa, Florida 33615, Hillsborough

County, Florida.

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e 8:16-cv-01283-VMC-TGW Document 2 Filed 05/23/16 Page 2 of 4 PagelD 10

4. That Plaintiff was insured at the time of loss, on August 3, 2015, under
Defendant’s insurance policy number 01014979-1.

5, Plaintiff is unable to locate the Policy, however all terms of the Policy are
incorporated herein and the Defendant has possession of the Policy which will be filed upon
receipt from the Defendant.

6. Plaintiff paid all insurance premiums, performed all post loss conditions, and
performed all conditions precedent. In the alternative, all conditions precedent have been waived.

7. On or about, August 3, 2015, Plaintiff discovered water damage within the
insured property due to a flood, which is a covered loss under the insurance policy.

8. Defendant acknowledged coverage for the Loss as claim number 150002734 and
assigned an insurance adjuster to adjust the Loss.

9. Plaintiff provided Defendant with a damage estimate for a covered loss in the
amount of $27,255.25.

10. Defendant was given timely notice of the loss and investigated the claim
including inspecting the property and estimating the damage, and was not prejudiced in its
investigation.

Ul, Defendant rejected the total amount of damages and completely denied coverage.

COUNT 1 - BREACH OF CONTRACT

12. Plaintiff reavers, readopts and realleges the allegations contained in Paragraphs |
through |1 of this Complaint, and as a first cause of action, would further allege:
13. That the policy provides coverage for direct physical loss to the Plaintiffs

property due to water damage mentioned herein.

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14. That the Plaintiff sustained unpaid damages in the amount of $27,255.25 that ts a
covered loss under the Defendant’s policy of insurance.
15, That the Plaintiff demanded the Defendant honor its contractual obligation and
pay for the unpaid damages to the insured property.
16. That the Defendant’s representative sent a letter to the Plaintiff denying coverage ,
of the claim.
17. That as a result of Defendant’s breach of contract, Plaintiff sustained damage to
the insured property.
18. That Defendant refuses to honor its contractual obligations to be a protector of
Plaintiff's assets and pay for the covered loss.
19, That Plaintiff has further had to retain the undersigned attorney and agreed to pay
him a reasonable fee for which the Defendant is liable under § 627.428.
20. Florida Statute 627,428(1) states:
Upon the rendition of a judgment or decree by any of the courts of this state
against an insurer and in favor of any named or omnibus insured or the named
beneficiary under a policy or contract executed by the insurer, the trial court or, in
the event of an appeal in which the insured or beneficiary prevails, the appellate
court shall adjudge or decree against the insurer and in favor of the insured or
beneficiary a reasonable sum as fees or compensation for the insured’s or
beneficiary’s attorney prosecuting the suit in which the recovery is had.

WHEREFORE, Plaintiff demands judgment against Defendant, plus costs, prejudgment

interest and attorneys fees pursuant to Florida Statute § 627.428.

DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury of all issues so triable.

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e 8:16-cv-01283-VMC-TGW Document 2 Filed 05/23/16 Page 4 of 4 PageID 12

DESIGNATION OF E-MAIL ADDRESS PURSUANT TO RULE 2,516

Pursuant to Florida Rule of Judicial Administration 2.516, Plaintiff hereby files its notice
of designation of email address for the purpose of service of all documents required to be served

in this proceeding: pleadings@stremslaw.com.

DATED this 19" day of April, 2016.

THE STREMS LAW FIRM, P.A.
Attorney for Plaintiff

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Coral Gables, Florida 33134

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‘S/ GREGORY SALDAMANDO, ESQ
GREGORY SALDAMANDO, ESQ
FLORIDA BAR NO.; 44896

{Si SCOT STREMS

SCOT STREMS, ESQUIRE
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